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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 12-81040-CIV-ROSENBAUM


  ALICE EPPS,

                   Plaintiff,

  v.

  OCWEN FINANCIAL CORPORATION,
  and DOES 1 THROUGH 10,

                   Defendants.
                                               /

                                   FINAL ORDER OF DISMISSAL

            This matter is before the Court upon the parties’ Joint Stipulation for Dismissal With

  Prejudice. [D.E. 11]. In this filing, the parties stipulate to the dismissal with prejudice of this case

  pursuant to Rule 41(a)(1)(A)(ii), Fed. R. Civ. P. Upon consideration, it is hereby ORDERED and

  ADJUDGED that the parties’ Joint Stipulation for Dismissal With Prejudice [D.E. 11] is approved

  and adopted, and the above-styled case is hereby DISMISSED WITH PREJUDICE. The Court

  shall retain jurisdiction to enforce the terms of the settlement. To the extent not otherwise disposed

  of, all pending motions are hereby DENIED AS MOOT. The Clerk is directed to CLOSE this

  matter.

            DONE and ORDERED in Fort Lauderdale, Florida, this 22nd day of January 2013.


                                                         ROBIN S. ROSENBAUM
                                                         UNITED STATES DISTRICT JUDGE

  Copies furnished to:
  Counsel of record
